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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

FAIRVIEW HOSPITALITY, LLC,                                 §
                                                           §
                  Plaintiff,                               §
                                                           §
v.                                                         §     Civil Action No. 3:17-CV-267-BH
                                                           §
STATE BANK OF TEXAS, et al.,                               §
                                                           §
                  Defendant.                               §     Consent Case1

                               MEMORANDUM OPINION AND ORDER

         Before the Court is State Bank of Texas’s Second Motion for Summary Judgment, filed

March 22, 2019 (doc. 99). Based on the relevant filings, evidence, and applicable law, the motion

is GRANTED.

                                               I. BACKGROUND

         Fairview Hospitality, LLC (Plaintiff), is an Oklahoma hospitality company that acquires,

constructs, develops, and manages a chain of hotels in and around Oklahoma. (docs. 101 at 6; 105-1

at 3.)2 Plaintiff contracted with Ajit B. Multani d/b/a Multani Construction (Multani) to be the

general contractor for the construction of a hotel in Oklahoma. (docs. 101 at 6-7; 105-1 at 3.)

Multani was tasked with selecting and hiring subcontractors, “distributing subcontractor payments,

and supervising any and all subcontractors utilized in construction of the [h]otel and was responsible

for the work product of his subcontractors.” (docs. 101 at 7; 105-1 at 3.) In order to pay the various

subcontractors, Plaintiff provided checks drawn on its bank, Farmers and Merchants National Bank


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            By consent of the parties and order filed December 21, 2018, this matter has been transferred for the conduct
of all further proceedings and the entry of judgment. (doc. 97.)

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         Citations to the record refer to the CM/ECF system page number at the top of each page rather than the page
numbers at the bottom of each filing.
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of Fairview (F & M Bank), that were “properly completed and payable to various subcontractors to

Multani” so that he could subsequently distribute them to the subcontractors. (Id.) Multani

ultimately failed to complete the hotel job, “and a large portion of the work actually done was not

completed in a good and workmanlike manner,” which resulted in Plaintiff having to pay for the

work to be completed properly. (docs. 101 at 7; 105-1 at 4.)

         “After being confronted by an unpaid subcontractor in May of 2015, [Plaintiff] discovered

that Multani” had inflated the amounts owed before submitting subcontractor invoices and had

“forged the payee indorsements on at least sixteen (16) subcontractor checks” that were given to him

to distribute to the subcontractors. (docs. 101 at 7; 105-1 at 5.) The sixteen checks totaled

$509,814.00. (docs. 101 at 8; 105-1 at 6.)3 Plaintiff notified F & M Bank shortly after discovering

the forged indorsements. (docs. 101 at 7; 105-1 at 5-6.)

         Multani cashed the subcontractor checks at Love Field Mart and Cockrell Hill Texaco.

(docs. 101 at 7; 105-1 at 5.) Love Field Mart could not cash checks in excess of $20,000 without

prior approval from One World Bank “and verification from the drawer or its bank that the checks

were properly payable.” (docs. 101 at 9; 105-1 at 8.) When Multani presented Love Field Mart with

checks that were for more than $20,000, Love Field Mart tendered the checks to Cockrell Hill

Texaco, which would then cash the check, minus its 1% fee, for Love Field Mart to provide to

Multani, and then Cockrell Hill Texaco would deposit the check with State Bank of Texas

(Defendant). (docs. 101 at 8-9; 105-1 at 8.) Defendant subsequently presented the checks to F &

M Bank for payment. (docs. 101 at 8; 105-1 at 7.)




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           Three of the sixteen checks, amounting to $29,500.00, were subject to a joint stipulation of settlement and
dismissal with prejudice as to One World Bank “and are no longer at issue in this lawsuit.” (docs. 101 at 8; 105-1 at 13.)

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        Plaintiff sued F & M Bank and Multani and others in state court. (doc. 105-1 at 12.) Multani

declared bankruptcy, and F & M Bank was granted summary judgment on Plaintiff’s claims of

common law negligence and breach of contract. (See docs. 101 at 101-02, 143-45; 101-2 at 112-13;

105-1 at 12.) Plaintiff then non-suited its claims against the other parties. (doc. 101-2 at 114-15.)

        On January 27, 2017, Plaintiff filed this lawsuit suit against Defendant, One World Bank,

SD & HR Investment Group, Inc. d/b/a Cockrell Hill Texaco (Cockrell Hill Texaco), and Lee Su

and Sung Su d/b/a Love Field Mart (collectively, Love Field Mart).4 (doc. 1 at 1.) Its amended

complaint asserts claims under § 3.406 of the Texas Business and Commerce Code as well as claims

for fraud by non-disclosure, conversion, negligence, gross negligence and conspiracy to commit

fraud and theft of property. (doc. 89 at 8-17.) Its only claim against Defendant is under § 3.406(b)

for Defendant’s alleged failure to exercise ordinary care in accepting the checks at issue. (Id. at 8-

9.) It seeks actual damages, attorney’s fees, costs, and pre-judgment and post-judgment interest

against all of the remaining defendants, as well as additional actual damages and exemplary

damages. (Id. at 19.)5

        On March 22, 2019, Defendant moved for summary judgment on the only claim against it

under § 3.406(b), on grounds that it “did not fail to use ordinary care in accepting the indorsed

checks” because the checks were accepted consistent with its procedures, and its procedures “are

all consistent with general banking practices as adopted in the Dallas/Fort Worth Metroplex.” (doc.

100 at 7.) Its usual course of business was to accept the checks deposited by Cockrell Hill Texaco,

process them for deposit through an automated system that does not require anyone to look at each

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          Plaintiff also designates Lee Su as d/b/a Lee Check Cashing but refers to both Lee Su and Sung Su as Love
Field Mart in its amended complaint. (See doc. 89.)

        5
            Plaintiff and One World Bank settled, and it was dismissed from this lawsuit with prejudice. (doc. 11.)

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individual indorsement, and then present them to F & M Bank through the Federal Reserve. (doc.

101-2 at 125.) It did not meet with Cockrell Hill Texaco’s customers and does not independently

verify the identities of check indorsers. (Id.)

       Plaintiff points to the designated payees and payee indorsements on the checks, contending

that “the actual payee indorsements [were] not ‘substantially similar’ to the designated payees” and

did “not include any principal/agent designations for the purported indorsers.” (docs. 104 at 12;

105-1 at 8-11.) It argues that Defendant failed to exercise ordinary care because it failed to examine

the subcontractor checks and confirm that the payee indorsements were substantially similar to the

named payees on each of the checks, and that this failure caused its damages. (doc. 104 at 23, 25.)

       With a timely filed response and reply, the motion is ripe for determination. (docs. 103-06.)

                                II. EVIDENTIARY OBJECTION

       Defendant presented the Affidavit of Janna Hayes (Hayes Affidavit) in support of its motion.

(doc. 101-2 at 124-29.) Plaintiff responded with the Declaration of Tejal Patel (Patel Declaration)

and the Declaration of Dennis Simmons (Simmons Declaration). (doc. 105-1 at 2-13, 66-78.)

Defendant objects that the entire Simmons Declaration “is conclusory and should not be

considered.” (doc. 106 at 2-4.)

A.     Simmons Declaration

       A “declaration used to support or oppose a motion [for summary judgment] must be made

on personal knowledge, set out facts that would be admissible in evidence, and show that the . . .

declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4). “[A] party cannot

defeat summary judgment with conclusory allegations, unsubstantiated assertions, or only a scintilla

of evidence.” Stagliano v. Cincinnati Ins. Co., 633 F. App’x 217, 219 (5th Cir. 2015) (citing Turner


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v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007)). Declarations “setting forth

ultimate or conclusory facts and conclusions of law are insufficient to either support or defeat a

motion for summary judgment.” Id. at 220 (quoting Orthopedic & Sports Injury Clinic v. Wang

Lab., Inc., 922 F.2d 220, 225 (5th Cir. 1991)); see Galindo v. Precision Am. Corp., 754 F.2d 1212,

1216 (5th Cir. 1985). “Without more than credentials and a subjective opinion, an expert’s

testimony that ‘it is so’” will not suffice. Orthopedic & Sports Injury Clinic, 922 F.2d at 225

(quoting Viterbo v. Dow Chem. Co., 826 F.2d 420, 424 (5th Cir. 1987)).

        The Simmons Declaration discusses portions of the Texas Business and Commerce Code and

sets out his opinion as to what constitutes ordinary care in the banking industry as well as his

ultimate conclusion that Defendant failed to exercise ordinary care in presenting the relevant checks

to Plaintiff’s bank. (See doc. 105-1 at 67-78.)6 He examined each of the checks and determined that

they were not properly payable because the indorsements were not substantially similar to the named

payee. (Id. at 69-76.) He claims that the substantial amounts and the fact that they were cashed at

check cashing businesses should have raised suspicions and “reasonable commercial standards

would require that [Defendant] . . . take additional precautionary measures to ensure that the checks

were properly payable.” (Id. at 76-77.) While not required, he states that it is “good practice within

the banking industry” to “require confirmation with the drawer or drawee bank that the

subcontractor checks were properly payable,” and that a bank’s disclaimer that it processes checks

with automated systems, or that it does not verify identities of check indorsers, does not absolve the

bank of its “obligation to exercise ordinary care and observe reasonable commercial standards when




        6
            The Simmons Declaration also discusses checks that were deposited to One World Bank, which has settled
with Plaintiff, so it is unnecessary to consider that portion of it.

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processing checks for payment.” (Id. at 77.) Simmons ultimately opines that Defendant is 20% at

fault for Plaintiff’s loss because it “failed to exercise ordinary care in presenting” the checks to

Plaintiff’s bank “for payment and said failure to exercise ordinary care substantially contributed to

[Plaintiff’s] loss associated with the payment of those checks.” (Id. at 77-78.)

       The Simmons Declaration only sets forth conclusory facts and conclusions of law regarding

the checks and Defendant’s alleged acts. (See id. at 67-78.) As noted, this is not sufficient to defeat

summary judgment. See Orthopedic & Sports Injury Clinic, 922 F.2d at 225; Galindo, 754 F.2d at

1216. The declaration fails to recite any facts supporting its conclusions that Defendant failed to

exercise ordinary care. Rather, the conclusory statements that the checks were not properly payable

based on the indorsements, and that Defendant failed to exercise ordinary care, essentially amount

to statements from Plaintiff’s expert that “it is so”, and do not suffice to defeat Defendant’s motion.

See Orthopedic & Sports Injury Clinic, 922 F.2d at 224–25 (finding that an expert’s opinion should

not be considered in response to a summary judgment motion because it was conclusory and

inadequately supported); Generation Trade, Inc. v. Ohio Sec. Ins. Co., No. 3:18-CV-0434-K, 2019

WL 2189240, at *9 (N.D. Tex. May 21, 2019) (determining that conclusory expert assertions in an

affidavit did “not constitute competent summary-judgment evidence that would create a genuine

dispute of material fact.”); Young v. Allstate Vehicle & Prop. Ins. Co., No. 4:17-CV-87, 2017 WL

5890128, at *3 (E.D. Tex. Nov. 9, 2017) (finding that an expert’s conclusory affidavit was

insufficient summary judgment evidence where it failed “to provide the [c]ourt with any factual

support or explanation of” its conclusions); see also Contractors Source, Inc. v. Amegy Bank Nat’l

Ass’n, 462 S.W.3d 128, 137 (Tex. App.—Houston [1st Dist.] 2015, no pet.) (citing cases)

(determining that conclusory expert affidavits regarding a bank’s failure to exercise ordinary care


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presented “no evidence of a question of fact . . . .”). Defendant’s objection to the Simmons

Declaration is SUSTAINED.

B.     Patel Declaration/Hayes Affidavit

       Notably, although there are no objections to either the Patel Declaration or the Hayes

Affidavit, both contain the same types of conclusory statements as the Simmons Declaration. This

raises the issue of whether those statements are properly considered, since “on a motion for

summary judgment, the evidence proffered . . . to satisfy [the] burden of proof must be competent

and admissible at trial.” Bellard v. Gautreaux, 675 F.3d 454, 460 (5th Cir. 2012). A court may sua

sponte consider whether to exclude evidence at the summary judgment stage. Id. at 461; see Ward

v. Jackson State Univ., 602 F. App’x 1000, 1003 (5th Cir. 2015) (citing Bellard, 675 F.3d at 460).

       1.      Patel Declaration

       The Patel Declaration provides that he is Plaintiff’s custodian of records and describes the

contract between it and Multani, Multani’s performance under the contract, and the facts

surrounding the checks that it provided to Multani to subsequently distribute to subcontractors.

(doc. 105-1 at 2-7, 9-11.) The declaration also states that Defendant “failed to exercise ordinary care

when, among other things, [it] failed to determine whether the payee indorsements on the

[s]ubcontractor [c]hecks were substantially similar to the designated payees on each of the

[s]ubcontracter [c]hecks.” (Id. at 7.) It concludes that as a result of Defendant’s “wrongful acts or

omissions, [Plaintiff] has been substantially injured.” (Id. at 12.)

       As noted, declarations “setting forth ultimate or conclusory facts and conclusions of law are

insufficient to . . . defeat a motion for summary judgment.” Stagliano, 633 F. App’x at 220 (quoting

Orthopedic & Sports Injury Clinic, 922 F.2d at 225). The Patel Declaration does not provide “‘any


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factual support or explanation’” as a basis for its conclusory statements. See Loiacano v. DISA

Global Solutions, Inc., 659 F. App’x 772, 777 (5th Cir. 2016) (citing cases); Orthopedic & Sports

Injury Clinic, 922 F.2d at 224–25. To the extent that it contains conclusory statements, it is not

considered in reviewing Defendant’s motion for summary judgment. See Bellard, 675 F.3d at 461

(finding that evidence may be excluded sua sponte); Salas v. Carpenter, 980 F.2d 299, 304 (5th Cir.

1992) (holding that a court should not strike an entire affidavit when portions are inadmissible); see

also Williamson v. U.S. Dep’t of Agric., 815 F.2d 368, 383 (5th Cir. 1987) (holding that a court

should disregard the inadmissible portions of a challenged affidavit).

       2.      Hayes Affidavit

       The Hayes Affidavit provides that Hayes is Defendant’s Senior Vice President and Chief

Financial Officer and describes how the checks were deposited, processed through its automated

system in its regular course of business, and presented to F & M Bank for payment. (See doc. 101-2

at 124-26.) It states that Defendant did not and does not verify the identities of check indorsers, and

makes conclusory statements that “[v]erification is and has always been the responsibility of the

check casher,” as is the normal practice of other banks in Dallas “who also receive checks from

money service businesses such as check cashers . . . .” (Id. at 125-26.) It also contains conclusory

statements that Defendant’s method of processing checks through an automated system without

requiring “anyone to look at each individual indorsement” is customary in the banking industry

nationally and in the Dallas/Fort Worth Metroplex, and that Defendant does not deviate from the

“practice used by other similarly situated banks.” (Id. at 125-27.) The affidavit concludes that “a

review of the checks at issue demonstrates that [Defendant] did not deviate from its duty of

‘ordinary care,’” and that most of the checks were payable as they appeared “to have been indorsed


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by a principal of the payee.” (Id. at 128-29.)

       The Hayes Affidavit essentially only provides the affiant’s credentials to support its

conclusory opinion that Defendant exercised ordinary care in paying the thirteen checks at issue

because it followed its prescribed procedures and its procedures were similar to those of similarly

situated banks. (See doc. 101-2 at 125-27.) It is “devoid of any factual support or explanation of

the [affiant’s] basis” for its conclusions that Defendant’s procedures were customary of other

similarly situated banks, however. Loiacano, 659 F. App’x at 777 (citing cases); see Orthopedic

& Sports Injury Clinic, 922 F.2d at 224–25. To the extent the affidavit contains conclusory

allegations and legal conclusions, those statements will also not be considered. See Bellard, 675

F.3d at 461 (determining it was proper to exclude evidence sua sponte); Salas, 980 F.2d at 304

(holding that a court should not strike an entire affidavit when portions are inadmissible); see also

Williamson, 815 F.2d at 383 (holding that a court should disregard the inadmissible portions of a

challenged affidavit).

                          III. SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate when the pleadings and evidence on file show that no

genuine issue exists as to any material fact and that the moving party is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). “[T]he substantive law will identify which facts are material.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine issue of material fact exists

“if the evidence is such that a reasonable jury could return a verdict for the non-moving party.” Id.

The movant makes a showing that there is no genuine issue of material fact by informing the court

of the basis of its motion and by identifying the portions of the record that reveal there are no

genuine material fact issues. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The moving party


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can also meet its summary judgment burden by “pointing out to the district court that there is an

absence of evidence to support the nonmoving party’s case.” Id. at 325 (internal quotation omitted).

        Once the movant makes this showing, the non-movant must then direct the court’s attention

to evidence in the record sufficient to establish that there is a genuine issue of material fact for trial.

Id. at 324. To carry this burden, the non-movant “must do more than simply show that there is some

metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986). The non-movant must show that the evidence is sufficient to

support a resolution of the factual issue in her favor. Anderson, 477 U.S. at 249. “If the [nonmoving

party’s] theory is . . . senseless [where] no reasonable jury could find in its favor, [then] summary

judgment should be granted.” Lottinger v. Shell Oil Co., 143 F. Supp. 2d 743, 751 (S.D. Tex. 2001)

(quoting Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 468–69 (1992)).

        “The parties may satisfy their respective burdens by ‘citing to particular parts of materials

in the record, including depositions, documents, electronically stored information, affidavits or

declarations, stipulations . . . admissions, interrogatory answers, or other materials.’” Rooters v.

State Farm Lloyds, 428 F. App’x 441, 445 (5th Cir. 2011) (citing Fed. R. Civ. P. 56(c)(1)). While

all of the evidence must be viewed in a light most favorable to the motion’s opponent, Anderson,

477 U.S. at 255 (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-59 (1970)), neither

conclusory allegations nor unsubstantiated assertions satisfy the non-movant’s summary judgment

burden, Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc); Topalian v.

Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992). There is also “no genuine issue as to any material

fact [if] a complete failure of proof concerning an essential element of the nonmoving party’s case

necessarily renders all other facts immaterial.” Celotex, 477 U.S. at 323. Summary judgment in favor


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of the movant is proper if, after adequate time for discovery, the motion’s opponent fails to establish

the existence of an element essential to his case and as to which he will bear the burden of proof at

trial. Celotex, 477 U.S. at 322–23.7

                                                   IV. ANALYSIS

         Defendant moves for summary judgment on Plaintiff’s only cause of action under § 3.406(b)

on grounds that “there is no evidence—and, in fact, conclusive proof to the contrary—that [it] failed

to exercise ordinary care in accepting the checks at issue, or that any failure to exercise ordinary care

contributed to [Plaintiff’s] loss.” (doc. 100 at 2-3.)

         Section 3.406 of the Texas Business and Commerce Code provides:

         (a) A person whose failure to exercise ordinary care substantially contributes to an
         alteration of an instrument or to the making of a forged signature on an instrument
         is precluded from asserting the alteration or the forgery against a person who, in
         good faith, pays the instrument or takes it for value or for collection.

         (b) Under Subsection (a), if the person asserting the preclusion fails to exercise
         ordinary care in paying or taking the instrument and that failure contributes to loss,
         the loss is allocated between the person precluded and the person asserting the
         preclusion according to the extent to which the failure of each to exercise ordinary
         care contributed to the loss.

         (c) Under Subsection (a), the burden of proving failure to exercise ordinary care is
         on the person asserting the preclusion. Under Subsection (b), the burden of proving
         failure to exercise ordinary care is on the person precluded.

Tex. Bus. & Comm. Code Ann. § 3.406(a)–(c).8 It “sets forth a comparative fault allocation when

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          Rule 56 imposes no obligation “to sift through the record in search of evidence to support a party’s opposition
to summary judgment.” Adams v. Travelers Indem. Co., 465 F.3d 156, 164 (5th Cir. 2006) (quoting Ragas v. Tenn. Gas
Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998)).

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           “It is a long-recognized principle that federal courts sitting in diversity cases ‘apply state substantive law and
federal procedural law.’” Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393, 417 (2010) (quoting
Hanna v. Plumer, 380 U.S. 460, 465 (1965)). Plaintiff asserts that Texas law applies because Defendant is located in
Texas, and Defendant does not dispute that Texas law applies. See De Aguilar v. Boeing Co., 47 F.3d 1404, 1413 (5th
Cir. 1995) (quoting Duncan v. Cessna Aircraft Co., 665 S.W.2d 414, 421 (Tex. 1984)) (“[T]he law of the state with the
most significant relationship to the particular substantive issue will be applied to resolve that issue.”).

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both parties fail to exercise ordinary care which substantially contributed to the forged signature.”

Helena Chem. Co. v. Texell Fed. Credit Union, No. W-05-CA-052, 2007 WL 9711169, at *1 (W.D.

Tex. Mar. 5, 2007); see Tex. Bus. & Comm. Code Ann. § 3.406.9 Subsection (b) provides an

affirmative cause of action for negligence under which a plaintiff may recover part of its loss by

presenting proof that the defendant bank’s failure to exercise ordinary care caused a portion of its

loss. See Tex. Bus. & Comm. Code Ann. § 3.406(b); Coastal Agric. Supply, Inc. v. JPMorgan

Chase Bank, N.A., No. H-11-1968, 2013 WL 12097785 (S.D. Tex. Jan. 7, 2013) (recognizing that

§ 3.406(b) allows for an affirmative cause of action in negligence), adopted in part by 2013 WL

12098682 (S.D. Tex. Apr. 3, 2013).

         “Ordinary care” in the case of a person engaged in business means observance of
         reasonable commercial standards prevailing in the area in which the person is
         located, with respect to the business in which the person is engaged. In the case of
         a bank that takes an instrument for processing for collection or payment by
         automated means, reasonable commercial standards do not require the bank to
         examine the instrument if the failure to examine does not violate the bank’s
         prescribed procedures and the bank’s procedures do not vary unreasonably from
         general banking usage not disapproved by this chapter or Chapter 4.

Tex. Bus. & Comm. Code Ann. § 3.103(a)(9). If a bank processes an instrument by automated

means, “both prongs must be proven for the [b]ank not to be required to examine the instrument paid

by automated means.” Bank of Tex., 276 S.W.3d at 682 (citing Tex. Bus. & Comm. Code Ann. §

3.103(a)(9)).

A.       Failure to Exercise Care

         Defendant first moves for summary judgment on grounds that for purposes of § 3.406(b), the



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          Once the requirements of both § 3.406(a) and (b) are met, “‘the loss is allocated between the [parties] . . .
according to the extent to which the failure of each to exercise ordinary care contributed to the loss.” Bank of Tex. v.
VR Electric, Inc., 276 S.W.3d 671, 683 (Tex. App.—Houston [1st Dist.] 2008, pet. denied) (quoting Tex. Bus. & Comm.
Code Ann. § 3.406(a)–(b)).

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Hayes Affidavit conclusively proves that it did not fail to exercise ordinary care. (doc. 100 at 7-8.)10

         As discussed, this affidavit makes only conclusory statements that Defendant “did not

deviate from its duty of ‘ordinary care,’” and that its procedures were consistent with those of the

banking industry nationally and of banks in the Dallas/Fort Worth Metroplex. (See doc. 101-2 at

125-27.) These conclusory statements were found inadmissible. Defendant’s only evidence that it

exercised ordinary care as defined in § 3.103(a)(9) is the Hayes Affidavit stating just that. (See doc.

101-2 at 125-28.) It did not submit any other evidence of its internal procedures or evidence

showing that its procedures did “not vary unreasonably from banking usage . . . .” See Tex. Bus. &

Comm. Code Ann. § 3.103(a)(9). Accordingly, Defendant fails to meet its initial summary judgment

burden on Plaintiff’s claim that it failed to exercise ordinary care under § 3.406(b). The burden

therefore does not shift to Plaintiff to identify evidence in the record raising a genuine issue of

material fact as to Defendant’s failure to exercise ordinary care based on Defendant’s first argument.

B.       No Evidence of Defendant’s Failure to Exercise Ordinary Care

         Defendant next moves for summary judgment on grounds that there is no evidence that it

“breached any applicable standard of care by accepting [the] thirteen checks in the manner that it

did, or that it violated its own standards or that those standards vary unreasonably from ordinary


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             Plaintiff initially argues that it is not a precluded party under § 3.406(a). (doc. 104 at 20.) Satisfaction of
§ 3.406(a) is a prerequisite to pursuing a cause of action under the comparative fault provision of § 3.406(b), however.
See Tex. Bus. & Comm. Code Ann. § 3.406(b) (“the loss is allocated between the person precluded and the person
asserting the preclusion according to the extent to which the failure of each to exercise ordinary care contributed to the
loss.”); Bank of Tex., 276 S.W.3d at 683 (determining liability under subsection (b) only after determining whether
subsection (a) was met); see also Coastal Agric. Supply, Inc., 2013 WL 12097785, at *6 (quoting Venetian Blind & Floor
Covering, Ltd. v. Wells Fargo Bank, N.A., No. H-08-2451, 2010 WL 547152, at *2 (S.D. Tex. Feb. 9, 2010)) (addressing
requirements under a similar statute and finding that once the initial elements are met, “the burden then shifts to the
[plaintiff] to present evidence which raises a fact issue as to whether the bank ‘failed to exercise ordinary care with
respect to the check.’”). A finding that Plaintiff is not a precluded party under § 3.406(a) because it did not fail to
exercise ordinary care would effectively prevent it from seeking relief under § 3.406(b). Because Plaintiff’s initial
argument relates only to § 3.406(a), and Defendant only moves for summary judgment on Plaintiff’s cause of action
under § 3.406(b), it is unnecessary to first consider this argument.

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banking usage in the area.” (doc. 100 at 8.) It seeks to alternatively discharge its summary

judgment burden by pointing to a lack of evidence supporting an essential element of Plaintiff’s

comparative fault claim, on which Plaintiff will bear the burden of proof. See Celotex, 477 U.S. at

325; see also Tex. Bus. & Comm. Code Ann. § 3.406(c) (placing the burden of proof on the plaintiff

to prove that the defendant failed to exercise ordinary care under subsection (b)). Accordingly, the

burden shifts to Plaintiff to identify evidence in the record that raises a genuine issue of material

fact. Celotex, 477 U.S. at 322–24; Little, 37 F.3d at 1075.

       Plaintiff points to the Simmons Declaration and the Patel Declaration to show that Defendant

failed to exercise ordinary care in paying the checks at issue. (doc. 104 at 22-23.) As discussed

above, however, the Simmons Declaration is wholly inadmissible. While the Patel Declaration has

not been excluded in its entirety, its conclusory statements that Defendant failed to exercise ordinary

care and contributed to Plaintiff’s loss by failing to determine whether the indorsements were

substantially similar to the designated payees on the checks have been found inadmissible because

the declaration did not contain any factual support or explanation for its conclusions. See Loiacano,

659 F. App’x at 777. Additionally, reasonable commercial standards do not require that a bank

examine every instrument if its “failure to examine does not violate the bank’s prescribed procedures

and the bank’s procedures do not vary unreasonably from general banking usage . . . .” Tex. Bus.

& Comm. Code Ann. § 3.103(a)(9). Even if the conclusory statements in the declarations were

admissible, Plaintiff fails to present any evidence to show that Defendant’s alleged failure to

examine the checks at issue violated its prescribed procedures, or that its procedures varied from




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general banking usage.11 See id. Notably, the Fifth Circuit has affirmed a district court’s finding

under an identically worded Louisiana statute that the fact that a defendant “may have paid an item

over a forged signature does not establish that [it] failed to exercise ‘ordinary care.’” Grodner &

Assocs., APLLC v. Regions Bank, 338 F. Supp. 3d 488, 500 (M.D. La. 2018) (determining whether

a bank failed to exercise ordinary care under an identical Louisiana law), aff’d, 2019 WL 1299927

(5th Cir. Mar. 19, 2019).

         Plaintiff has failed to meet its summary judgment burden to identify evidence in the record

that raises a genuine issue of material fact as to Defendant’s failure to exercise ordinary care.

Celotex, 477 U.S. at 322-24; Little, 37 F.3d at 1075. Accordingly, Defendant is entitled to summary

judgment on Plaintiff’s only claim against it under Tex. Bus. & Comm. Code Ann. § 3.406(b). See

Contractors Source, Inc., 462 S.W.3d at 137 (determining that the defendant was entitled to

summary judgment on a similar claim because the plaintiff failed to raise a fact issue regarding the

defendant’s exercise of ordinary care); see also Grodner & Assocs., APLLC, 338 F. Supp. 3d at 500

(finding that the plaintiff failed to demonstrate that the defendant bank failed to exercise ordinary

care on summary judgment).

                                               V. CONCLUSION

         Defendant’s motion for summary judgment is GRANTED. By separate judgement,

Plaintiff’s claim against Defendant under Tex. Bus. & Comm. Code Ann. § 3.406 will be

DISMISSED with prejudice.




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            Although Plaintiff argues that Defendant failed to exercise ordinary care because the checks were not
properly payable due to the indorsements not being substantially similar to the named payees on the checks, this is not
the applicable ordinary care standard under Texas law. See Tex. Bus. & Comm. Code Ann. § 3.103(a)(9).

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     SO ORDERED on this 14th day of June, 2019.



                                             ___________________________________
                                             IRMA CARRILLO RAMIREZ
                                             UNITED STATES MAGISTRATE JUDGE




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